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Prob 12(10/09)
VAE(rev. 5/17)
                                 UNITED STATES DISTRICT COURT
                                                   for the
                                 EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Darrell Ferguson                                   Docket No. 1:17-MJ-193

                                  Petition on Probation or Supervised Release

        COMES NOW STANLEY E. LEIGH. PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct and attitude of Darrell Ferguson, who was placed on supervision by the
Honorable Michael S. Nachmanoff, United States Magistrate Judge sitting in the Court at Alexandria. Virginia,
on the 1^ day of Mav. 2017. who fixed the period of supervision at I vear. and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

                                                  See Page 2


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                See Attachtnent(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


RETURNABLE DATE:                                        (O


ORDER OF COURT                                              1 declare under the penalty of perjury that the
                                                            foregoing is true and correct.
Considered and ordered this       T day of Ml
2018 and ordered filed and made a part of                   Executed on:
records in the above case.                                                               Digitally signed by Joanne E. Marden
                                                                                         Date:2018.04.0611:1937 -04'00'

                                                            /or Stanley E. Leigh
                        /s/                                 U.S. Probation Officer
        Michael S. Nachmanoff ^                             703-299-2359
        United States Magistrate Judge
                 Michael S. Nachmanoff                      Place Alexandria. Virginia
             United States Magistrate Judge




TO CLERK'S OFFICE
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